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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


QUALITY EQUIPMENT LEASING, )
LLC,                       )
                           )
     Plaintiff,            )
                           )                     CIVIL ACTION NO.
     v.                    )                       2:19cv309-MHT
                           )
SHAW TRANSFER TRUCKING     )
LLC,                       )
                           )
     Defendant.            )

                                   ORDER

       The allegations of the complaint in this case are

insufficient         to     invoke       this      court's       original

jurisdiction       under     28   U.S.C.     §    1332   (diversity      of

citizenship).        To invoke original jurisdiction based on

diversity,        the      complaint        must     distinctly          and

affirmatively       allege     each    party's     citizenship.          See

McGovern v. American Airlines, Inc., 511 F. 2d 653, 654

(5th Cir. 1975) (per curiam).                    The allegations must

show     that     the     citizenship      of     each   plaintiff       is

different from that of each defendant.                   See 28 U.S.C.

§ 1332; see also 2 James Wm. Moore, et al., Moore's
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Federal Practice § 8.03[5][b] at 8-16 (3d ed. 2006).

       The complaint here is insufficient because it does

not properly indicate the citizenship of the parties,

both    of    which    are    alleged     to   be   limited    liability

companies.         “[L]ike   a   limited     partnership,     a    limited

liability company is a citizen of any state of which a

member of the company is a citizen.”                      Rolling Greens

MHP,    L.P.     v.   Comcast    SCH    Holdings    L.L.C.,       374    F.3d

1020,     1022      (11th    Cir.   2004).       The    complaint        must

therefore allege “the citizenships of all the members

of the limited liability company.”                  Id.     (And if the

entity consists of several entities, the complaint must

reflect the citizenship, or citizenships, of each and

every entity based on the nature of that entity.)



                                    ***

       It is therefore the ORDER, JUDGMENT, and DECREE of

the court that the plaintiff has until May 20, 2019, to

amend        the      complaint        to      allege       jurisdiction

sufficiently; otherwise this lawsuit shall be dismissed
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without prejudice.

    DONE, this the 6th day of May, 2019.


                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE
